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Michael Protack, In Pro Per
P.O. Box 112

Seal Beach, CA 90740
(302) 690-8872

Plaintiff In Pro Per

Plaintiff,
v.

DELTA AIR LINES, INC., a
Delaware corporation; RICHARD
TERRY, an individual; ORAN
CLAYTON MILLER, aka O.C.
MILLER, an individual; CHRIS
PUCKETT, an individual; THOMAS
B. FAULKNER, MD, an individual,
JIM GRAHAM, an individual;
DAVID ALTMAN, an individual,

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION 6

MICHAEL PROTACK, an individual, ) Civil Action No.

Defendants.

 

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4221-CV- 04'

COMPLAINT FOR DAMAGES AND
INJUNCTIVE RELIEF FOR:

VIOLATION OF THE AMERICANS
WITH DISABILITIES ACT (ADA),
42 U.S.C. §12101 ET SEQ;

VIOLATIONS OF RAILWAY
LABOR ACT (RLA), 45 U.S.C. § 151
ET SEO.

DISCRIMINATION IN VIOLATION
OF CAL. GOV’T CODE §§12940 ET

SEQ.;

HARASSMENT IN VIOLATION OF
CAL. GOV’T CODE §§12940 ET

SEQ.;

RETALIATION IN VIOLATION OF
CAL. GOV’T CODE §§12940 ET

SEQ.;

FAILURE TO PREVENT
DISCRIMINATION, HARASSMENT
AND RETALIATION IN
VIOLATION OF CAL. GOW’T
CODE §12940(k); :

FOR DECLARATORY
JUDGMENT;

RETALIATION IN VIOLATION OF

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COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

 

 

 
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CAL. LABOR CODE §§ 1102.5 AND

I 1102.6;
2\) UNFAIR COMPETITION (CAL.
a BUS. & PROF. CODE §17200 ET
3 SEQ.); AND
‘ WRONGFUL TERMINATION IN
; | VIOLATION OF PUBLIC POLICY
6 [DEMAND FOR JURY TRIAL]

~ COMES NOW PLAINTIFF, MICHAEL PROTACK, and for causes of

io || action against the Defendants and each of them, alleges as follows:

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2 I.

13 NATURE OF THE CASE
14 1. After decades of distinguished service as a pilot, Defendant Delta
15 Airlines, Inc. ("Delta") removed Protack from active services for years,
16 refusing to reinstate his flying privileges, unless Protack agreed to an
17 unnecessary and intrusive psychiatric exam.
18 2. Despite the Federal Aviation Administration ("FAA") repeatedly

? clearing Protack as being fit to fly, Delta maintained its refusal, effectively

6 improperly "medicalizing" an employment dispute.
" 3. After years of harassing and bullying Protack, and Protack refusing to
“ be harassed and bullied by Delta, Delta withdrew its demand for a
23
psychiatric exam and, instead, terminated Protack for false and pre textual
24
reasons.
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06 4. Delta's conduct was motivated by numerous illegal factors, including

” Protack's union activities with respect to the Delta MEC Air Line Pilots

98 Association, International ("ALPA") and attempts to replace the ALPA,

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COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

 

 

 

 
 

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1 Delta's perception that Protack was suffering from a physical and/or mental
2 disability, and Protack's engagement in protected activities, including the

3 refusal to submit to the psychiatric exam and protesting the same.

4 5. Protack has filed charges with the Equal Employment Opportunity

Commission and the Department of Fair Employment and Housing, and has
exhausted his administrative prerequisites with respect thereto.

6. Protack now brings this action against Delta for violating the
Americans with Disabilities Act ("ADA"), 42 U.S.C. § 12101, et seq, the
Railway Labor Act ("RLA"), 45 U.S.C. § 151, et seq,, the California Fair
. Employment and Housing Act, Government Code 12940, et seq. (the
"FEHA"), California Labor Code section 1102.5 (whistleblower), the

California Unfair Practices Act, Business & Professions Code § 17200, et

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seq, (unfair business practices) and for wrongful termination in violation of .

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5 public policy.
16 I.
7 . JURISDICTION & VENUE
is |} 7. Jurisdiction of this Court arises under 45 U.S.C. § 151 et seq., 42
19 U.S.C. §12101, et seq, 42 U.S.C. §2000e, et seq, and 28 U.S.C. § 1331.
20 Supplemental jurisdiction exists for the state law claims under 28 U.S.C. §
21 1367. Declaratory relief is available under 28 U.S.C. §§ 2201 and 2202.
22 8. This Court has personal jurisdiction over Defendants, and each of

23 them, because Defendants reside or work in Georgia, and maintain sufficient

24 minimum contacts with Georgia to render jurisdiction by this Court

» permissible under the traditional notions of fair play and substantial justice.

26 a Tt gt ,
9. Venue in this District is proper because Defendant transacts business

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here and the conduct giving rise to this claim arose in part in this District,

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and Delta has received substantial compensation in this District by doing

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COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

 

 

 

 
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business here and engaging in numerous activities that have an effect in this
District. .

III.

THE PARTIES

10. ‘Plaintiff, MICHAEL PROTACK, is a natural person, who was
residing in the County of Orange, State of California, at the time of certain
of the conduct alleged in this complaint, including at the time of his
termination.
11. Plaintiff is informed and believes, and based thereupon alleges, that at
all times relevant hereto, Defendant DELTA AIR LINES, INC. (hereinafter
referred to as “Delta”) was and is a Delaware corporation, engaged in the
airline industry in California and other states using the instrumentalities of
interstate commerce with its corporate headquarters located at Hartsfield-
Jackson Atlanta International Airport, 1030 Delta Blvd., Atlanta, Georgia,
30354.
12. Atall times relevant herein, Delta was Plaintiff’s employer, joint
employer and/or special employers within the meaning of 42 U.S.C. §
12111065), 42 U.S.C. §2000e(b), and California Government Code §§12926,
subdivision (d), 12940, subdivisions (h), (j)(1), (j)(4)(A), and (k), and Delta
was a "carrier" and Plaintiff its "employee" within the meaning of 42 U.S.C.
§ 151.
13. Plaintiff is informed and believes, and based thereupon alleges, that at}
all times relevant hereto, Defendants RICHARD TERRY, ORAN
CLAYTON MILLER aka O.C. MILLER, CHRIS PUCKETT, THOMAS B.
FAULKNER, MD, and JIM GRAHAM were and are natural persons and
residents of County of Fulton, State of Georgia. In addition, DAVID
ALTMAN (ALTMAN ”’) is and was a natural person and a resident of the

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COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

 
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County of Cook, State of Illinois. Plaintiff is informed and believes and
thereon alleges that at all times mentioned herein Altman was rendering
services in this district and is therefore subject to the Jurisdiction of this
court. The above-mentioned defendants are hereinafter individually referred
to by last name and collectively referred to as the “INDIVIDUAL
DEFENDANTS.” The INDIVIDUAL DEFENDANTS were Delta's
managers, corporate agents, supervisors, and/or employees.

14. Plaintiff is informed and believes, and based thereupon alleges, that at
all times relevant hereto, Defendants, and each of them, were the agents,
employees, managing agents, supervisors, coconspirators, parent
corporation, joint employers, alter egos, successors, and/or joint ventures of
the other Defendants, and each of them, and in doing the things alleged
herein, were acting at least in part within the course and scope of said
agency, employment, conspiracy, joint employer, alter ego status, successor
status and/or joint venture and with the permission and consent of each of
the other Defendants.

15. Plaintiff is informed and believes, and based thereupon alleges, that
Defendants, and each of them, including the INDIVIDUAL

DEFENDANTS, acted in concert with one another to commit the wrongful
acts alleged herein, and aided, abetted, incited, compelled and/or coerced
one another in the wrongful acts alleged herein, and/or attempted to do so,
including pursuant to California Government Code §12940(i). Plaintiff is
further informed and believes, and based thereupon alleges, that Defendants,
and each of them, including the INDIVIDUAL DEFENDANTS, and each of:
them, formed and executed a conspiracy or common plan pursuant to which

they would commit the unlawful acts alleged herein, with all such acts

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COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

 
 

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alleged herein done as part of and pursuant to said conspiracy, intended to
cause and actually causing Plaintiff harm.
16. Whenever and wherever reference is made in this complaint to any act

or failure to act by a Defendant or co-Defendant, such allegations and

references shall also be deemed to mean the acts and/or failures to act by

each Defendant acting individually, jointly and severally.
IV.

FACTUAL ALLEGATIONS |
18. Protack was hired by Delta on May 9, 1991, as a pilot, and was
promoted to airline Captain in 2000. Over the next twenty-five years,
Protack performed his job duties satisfactorily and commendably. As of
October 23, 2013, when the below-mentioned misconduct commenced,
Protack was 56 years old. The mandatory retirement age for pilots is not
until age 65.
19. Asa pilot, Protack performed his services for Delta throughout the
entire United States, including California. Protack has piloted Delta's
airplanes into and out of the State of California hundreds of times, in and out

of San Diego, Sacramento, Los Angeles, San Francisco and San Jose. Every

. time Protack flew in or out of California, Protack was housed by Delta over

night in California in a hotel.

20. Over the course of his employment with Delta, Protack prolifically
engaged in union-related activities, including filing several grievances and
pursuing them all the way through hearing and reversing certain adverse
employment decisions, and actively seeking to replace the ALPA.

21. On June 23, 2012, Protack was injured in an automobile accident
when he was hit by a hit and run driver. Between June and August 2012,
Protack was off work while he received and completed physical therapy for

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COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

 
 

 

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his injuries. Protack did not take any medications or prescriptions for his
injuries. During this same time period, Delta made no inquiries or asked for
further clarification of Protack's medical condition.
22. Inand around September 2012, Protack was issued a valid First Class
Medical Certificate by the FAA, with no restrictions, and no limitations on
his return to work or ability to pilot. Delta returned Protack to work with no
questions or further documentation required.
23. Between September 2012 and November 2013, Protack received no
medical treatment for his injuries, and had no defects.
24. Inand around February 2013 and August 2013, Protack was issued
valid First Class Medical Certificates by the FAA, with no restrictions and
no limitations on his ability to pilot.
25. In fact, pilots are given physicals every six (6) months by the FAA to
ensure their fitness to fly. Protack attended all of these physicals, and
passed every exam and was deemed fit to fly.
26. The only purported "restrictions" placed by any doctor on Protack
were apparently by Protack's personal physician, who recommended Protack
not fly more than 65-70 hours per month, for a total of three months.
Protack did not typically fly more than those hours anyway, so this
"restriction" was not even a limitation. The FAA agreed that this did not
constitute a limitation or restriction. Delta had no minimum or maximum
number of hours. The productivity goal for Delta pilots is 85 hours per
month, but Protack always flew less than that number of hours.
27. In the first half of 2013, citing safety concerns, Protack refused Delta's
orders to fly an aircraft with corrosion which produced a hole in the bottom
of the aircraft, and maintenance informed Protack they would "slap on a
patch" on it. Delta continued to try to force Protack to fly this plane, but
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COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

 

 

 
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Protack maintained his refusal due to safety concerns. Protack made other
complaints during this time period about unsafe conditions. Indeed,
throughout his employment, Protack made many protected complaints about |
safety and his working conditions. Most of these complaints were made to
Chief Pilots in New York reporting directly to GRAHAM, who did nothing
to address them.

| a. Protack made safety complaints about 3-4 times per year.
Delta's response to these complaints was to attempt to discipline Plaintiff;

b. Protack protested misogynistic comments by other pilots and
co-pilots when Delta started hiring women pilots.

C. Protack complained about his pay rate, including unwarranted
and substantial pay cuts and loss of pension benefits for pilots back in
2010/2011. This same activity spurned Protack to begin petitioning for the
ALPA to be replaced with a new union, the Delta Pilots Association
("DPA").

28. Protack's most recent union petitioning activities and complaints were
in Summer 2013.

29. In and around July 2013, Protack called in sick for a trip. Delta
requested medical documentation to justify the absence, and Protack
provided it. Approximately six weeks later, TERRY, the Chief Pilot, asked
Protack if he required further treatment for his condition, and Protack said
no. Protack heard nothing again from August 20, 2013 to October 9, 2013.
30. On October 9, 2013, Protack was given a letter removing him from
service with pay, stating he had to undergo a medical review concerning his
back injury and the medications he might be taking to address the issue. The]
medical review, according to this letter, would be conducted by
FAULKNER.

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COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

 
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I 31. In October 2013, when Delta first removed Protack from service,

 

2 Protack resided in the State of Delaware, and his designated base was JFK in
3 New York City. However, once Protack was removed from service, his base
4 was no longer designated as "NYC." Instead, Protack was categorized as

"NBC" which means "No Base Category.” This means, Protack no longer
had a designated base, but remained an employee wherever Protack
happened to be, and was no longer based out of NYC.

32. FAULKNER requested Protack provide medical documents, which

Protack did on October 15, 2013. Protack subsequently also provided signed

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authorizations for releases.
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b 33. On October 31, 2013, Protack also obtained a validation of fitness by

3 a Board Certified Orthopedic Surgeon, at his own cost. This validation

4 confirmed that Protack "has been asymptomatic since shortly after his motor

15 vehicle accident and his examination today is benign and he is

6 neurologically normal. I see no contraindication to him continuing with his
7 work activities as a pilot..."

18 34. On November 3, 2013, Protack's personal physician, John E. Hocutt,
19 Jr., M.D., sent a letter to TERRY at Delta, confirming his prior evaluation of
20 Protack and confirming "I found no reason for Mr. Protack to be off flight

21 _ status" and confirming that Protack has not taken, nor needed or requested,
22 nor received any prescriptions for medications.
23 35. Between October 2013 and December 2013, numerous

* communications were exchanged between FAULKNER and Protack in

* which FAULKNER refused to consider records provided by Protack,

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accused Protack of hiding records, and refused to answer Protack's questions

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about why certain information was required or insufficient. Among other

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things, Protack was protesting the focus of FAULKNER's examination on

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COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

 

 

 

 
 

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Protack's past medical history, when the inquiry was supposed to be about
Protack's current fitness for duty.
36. On October 23, 2013, TERRY revoked Protack's non-revenue flight
privileges with Delta. Such a revocation is ordinarily tied to some sort of
discipline, and is almost always done in writing. Here, TERRY merely
revoked Protack's privileges orally, which, on information and belief,
TERRY intended to be a form of discipline of Protack for protesting the
Section 15 process. Protack filed a grievance as a result of TERRY's
actions. |
37. On November 21, 2013, Protack reached out to Maria Connors of the
FAA concerning what he perceived to be Delta's "Witch Hunt" and attempts
to invalidate Protack's FAA issued First Class Medical Certificates.
38. On November 21, 2013, Protack initiated a grievance against TERRY
and FAULKNER for violation of the Chapter 13 process, and the refusal to
acknowledge the FAA's repeated findings of fitness for duty, and forwarded | |
this grievance to GRAHAM on November 22, 2013, requesting a hearing
officer as soon as possible.
39. On December 3, 2013, the FAA's North East Region Flight Surgeon,
Dr. Harriett Lester, again confirmed Protack's eligibility to hold a First Class
Airman Medical Certificate.
40. In immediate response to Protack’s perceived actions of "going over
Delta's head" to the FAA, on December 5, 2013, TERRY delivered to
Protack a letter stating that now Delta "has concerns regarding [his]
psychiatric condition" and removed Protack from service for purposes of
conducting a psychiatric review, also by FAULKNER.
41. On December 7, 2013, on Protack's behalf, Captain Hartley Phinney
of the ALPA sent an email to MILLER requesting FAULKNER be removed
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and that a new Director of Health Services be assigned to his medical
review, on the grounds of a personality conflict between Protack and
FAULKNER, and FAULKNER's delay in reviewing the records.

42. Shortly thereafter, Protack personally requested a new physician/
doctor to review his fitness for duty, as "it is clear Dr. Faulkner has failed to
act within the normal bounds of review."

43. On December 10, 2013, TERRY sent an email to MILLER
concerning Protack's exchanges with FAULKNER, and inquiring whether
they could characterize Protack's actions as insubordination.

44. On December 20, 2013, Protack sent a letter to TERRY protesting the}
proposed psychiatric evaluation, again requesting removal of FAULKNER
from the evaluation. Protack further advised that, if Delta intended to
proceed with the psychiatric review, he would be pursuing a grievance of
this decision.

45. On December 23, 2013, Protack sent a letter to Delta's Captain Steve
Dickson protesting the demanded psychiatric evaluation, again requesting
removal of FAULKNER from the evaluation, and demanding a grievance
hearing. In this communication, Protack reiterated that he has repeatedly
asked for an immediate CME to verify that Protack had no disqualifying
back injury or medication use, and reminded that he has had three FAA
medical examinations, an orthopedic evaluation, and a validation from
Eastern Region Flight Surgeon, Dr. Harriet Lester, all whom confirmed he
was fit to pilot, as well as other documentation confirming this. Protack
protested what he perceived to be an improper demand for medical and
psychiatric evaluations in retaliation for having gone over Delta's head to
obtain the FAA First Class Medical Certificates and requesting removal of
FAULKNER. Protack protested FAULKNER's verbal diagnoses of

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COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

 
 

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1 "personality disorder" and "distortion of reality" without having ever

2 examined him, and based upon Protack's conduct of engaging in protected
3 activities, and without a reason or medical evidence to support such a claim.
4 Protack requested termination of the demand for a psychiatric review and
° that FAULKNER be removed from any further role in evaluating Protack's

satisfaction of physical standards.
46. On December 28, 2013, PUCKETT further conspired with
FAULKNER to attempt to justify the unwarranted psychiatric exam by

digging through Protack's historical files and Protack's prior grievances from
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many years earlier, characterizing Protack's behavior as erratic, and trying to
I

; dig up anything to support Delta's new claim that Protack.was
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psychiatrically unfit to fly. PUCKETT further forwarded emails from other

14 Delta employees whom he had solicited to assist with this unlawful

5 endeavor, pulling up instances of Protack's alleged "antics" from as early as

16 2009, in an attempt to manufacture a current psychiatric disorder.

| 7 47. On January 3, 2014, MILLER sent Protack a letter responding to

18 Protack's letter to TERRY. With respect to the psychiatric review, MILLER |

19 attempted to justify FAULKNER's continued demand therefor because
20 FAULKNER had purportedly "noted several troubling behaviors including
21 but not limited to a pattern of inconsistent statements/demonstrable
22 falsehoods, detachment reality, and willfully disobedient conduct," referring
23 to Protack's protected activities and MILLER's and/or FAULKNER's

“A mischaracterization of them. In conclusion, MILLER refused to withdraw

» the demand for the psychiatric exam, refused to even delay it so Protack

*° could pursue a grievance, and refused to rmove FAULKNER from

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overseeing it.

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COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

 

 

 
 

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48. Immediately upon receipt of MILLER's letter, Protack enlisted the
assistance of the FAA and its Medicine Division, who has ultimate authority
over a pilot's fitness to fly. Protack characterized Delta's and the
INDIVIDUAL DEFENDANTS' conduct as a witch hunt, and requested the
FAA to intervene. Protack provided to the FAA the prior First Class Medical
Certificates that had been issued within the past twelve months, and other
information.

49. Inthe meantime, still under FAULKNER's oversight, Dr. David B.
Altman, was assigned to conduct the comprehensive psychiatric exam of
Protack. Ina letter dated January 11, 2014, FAULKNER advised Dr.
Altman that Delta was seeking an "independent medical evaluation when
they believe a Pilot does not meet the Federal Aviation Administration -
Office of Aerospace Medicine (FAA-OAM) medical standards to hold an
Airman Medical Certificate,” even though the FAA itself had already
declared Protack fit to fly multiple times before and during Delta's witch
hunt. FAULKNER expressly advises Dr. Altman to let him know should
Protack further attempt to resist the psychiatric evaluation, or fail to
cooperate. FAULKNER then advised Dr. Altman of the purported reason
for requesting the evaluation, intending to poison and predispose Dr. Altman
of Delta's and FAULKNER's position, ensuring that Dr. Altman's evaluation
would be anything but "independent":

Our reasons for requesting this evaluation are related to
our interactions with Captain Protack over several years
and under a variety of circumstances, as well as reports
of his behavior and statements from other Delta
employees and members of the general public that call
into question his serving as a Pilot. For these
observations we have identified several troubling
behaviors, inconsistent statements/demonstrable
falsehoods, detachment from reality, and willfully
disobedient conduct.

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COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

 

 
 

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FAULKNER's description mimicked, nearly verbatim, the statements in
MILLER's letter to Protack of weeks before. To further poison the well
and predispose Dr. Altman, FAULKNER sent Dr. Altman six pages of
narrative, a impugning Protack's character, characterizing Protack's
protected activities as being delusional and obstructionist, information
from internet sites concerning a decade-prior run for governor, as well as
purported racist statements by Protack having nothing to do with work,
piloting, Delta, Delta employees, or any other relevant matter,
characterizing Protack's own opinion of himself as having integrity as
being delusional and with a mental health issue.
50. On January 14, 2014, PUCKETT further contributed to the conspiracy
and railroading of Protack by forwarding to FAULKNER prior union
activities of Protack from back in 1998, and misrepresenting the results.
PUCKETT admitted he had done "some digging" to find this information.
PUCKETT further promised FAULKNER "stand by for more
documents...."
51. Inthe meantime, also on January 14, 2014, the FAA issued Protack
another FAA First Class Medical Certificate, this one from Dr. Alan
Kozarsky.
52. On January 30, 2014, Protack attended an appointment with
Dr. Altman, who interviewed Protack for two hours.
53. On January 31, 2014, Protack revoked his consent for Dr. Altman to
receive certain of his records unless Protack was afforded the opportunity to
review them, as well as other concerns.
54. On February 1, 2014, Protack wrote a letter to Dr. Altman advising
that his attorney requested four items from him: 1. the specific medical
reason FAULKNER gave for the psychiatric review, including the

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COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

 

 

 
 

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documentation; 2. a letter from Dr. Altman detailing his own reason for the
exam and the references to First class medical issuances; 3. a written consent
form for recording of interviews; and 4. a written form denoting who has
access and control of these recordings.

55. On February 21, 2014, the Captain Hartley Phinney and Gordon Rose,
Esq. of the ALPA sent a letter to PUCKETT reiterating its own request for a
detailed explanation of the factual basis for Delta's directive that Protack
"submit to a comprehensive psychiatric evaluation (including a battery of
neuro-psychological testing)," confirming that this testing "is a very serious
matter," is "extremely intrusive and should not be ordered without legitimate
and clearly articulated justification." The ALPA reminded PUCKETT that
the original demand for a medical review was for issues relating to Protack's
“neck, back and/or spine, not any psychiatric issues.". ALPA further pointed
that Delta had still failed to identify with specificity the factual basis for its
medical directive for the psychiatric examination. ALPA further reminded

that

The PWA permits a Section 15 evaluation only when the
Company has a "reason" to believe that the individual
"may not meet the physical standards" to act as a pilot at
Delta Air Lines. the term "standards" means "the
standards established by the FAA for issuance of a First
class Medical Certificate, including the FAA waiver and
restriction policy.". PWA Section 15.B.1 and Section
15.A.3. This contractual requirement has not been met as
stated in the pending grievance on this matter. We
therefore again request that the Company provide the
requisite specific factual explanation, particularly with
respect to the request for the psychiatric evaluation or,
alternatively, cancel the directive to submit to such
evaluations and immediately return Captain Protack to
uty.

56. On February 25, 2014, Protack wrote another letter to Dr. Altman to

follow up on the request for the four previous items (now his third request),

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COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

 

 
 

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and to also request: 1. a list of all tests and what FAA standards they
address; and 2. transcript of all recorded interviews.

57. On February 26, 2014, Protack wrote to Dr. Charles Chesanow of the
FAA again seeking the FAA's assistance to stop Delta's and FAULKNER's
"witch hunt."

58. On March 4, 2014, Delta denied Protack's grievance.

59. On March 6, 2014, Michael A. Berry, MLD. of the FAA, in response
to Protack's requests for FAA intervention, sent Protack a letter in which it
was confirmed that the FAA was not currently re-examining Protack's
qualifications for airman medical certification, including the one issued on
January 13, 2014.

60. On March 10, 2014, ALPA initiated another grievance by Protack
against Delta on the issues of whether Delta was in violation of the
Agreement by demanding Protack submit to medical, psychological and
neuropsychological testing without a legitimate reason to believe he may not
meet the FAA's physical standards for issuance of a First Class Medical
Certificate, and/or by allowing FAULKNER to continue to participate in the
evaluation despite a conflict of interest, including Protack's making of a
medical ethics complaint against FAULKNER with the Georgia Composite
Medical Board (which Protack had recently done). ALPA requested the
grievance be submitted to a 5-Member System Board of Adjustment for
immediate adjudication. |

61. Also on March 10, 2014, Protack sent a letter to Dr. Altman. Among
other things, Protack's letter confirmed that he had discussed the matter with
the FAA, and that "[t]he input from the Eastern Region FS and the Lead
Psychiatrist for the FAA made it clear the FAA does not 'medicalize’ work
place disputes. The FAA has no file or reason for any review and [in] over 5

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months Delta nor Faulkner have documented a single physical standard not
being met by me. In a recent grievance Faulkner refused to detail any
standards not being met." Protack requested Dr. Altman provide the
following: 1. detail the physical standards not being met by Protack; 2. the
medical reason for testing; 3. the testing to be done; 4. a written consent for
any recordings; 5. a written form denoting who has access/control of the
recordings; and 6. information on whether blood would be drawn, tissue
samples taken, etc., what the limits of such testing would be and based on
what criteria.
62. On March 11, 2014, Gordon Rose, Esq. of ALPA sent a letter to
PUCKETT reiterating the request that Protack be provided with a list of the
tests to which Dr. Altman has ordered him to submit.
63. On March 13, 2014, Gordon Rose, Esq. of ALPA sent another letter to
PUCKETT to reiterate the request that FAULKNER be removed as the
evaluator of Protack, confirming that not only would doing so be an easy
matter, "but fair process and past practice require it do so,” especially in
light of Protack's pending complaint with the Georgia Composite Medical
board. |
64. On March 18, 2014, Gordon Rose, Esq. of the ALPA sent a letter to
PUCKETT responding to his, disputing that PUCKETT had presented "a
well documented history of behavior" that could be the basis for a
conclusion regarding "possible psychiatric issues" of Protack. The ALPA
pointed out that if this long history of behavior existed, then there would
have been reference to it somewhere in the files, which there is not. The
letter further disputed PUCKEIT's purported reasons for the psychiatric
exam, addressing each reason, with multiple bullet points as to each, and
documentation, including the fact that "4 different AME's and 3 different
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Regional Flight Surgeons have reviewed Captain Protack and found him to
properly be in possession of a valid first class medical certificate." In
conclusion, the ALPA again requested Delta rescind its demand for a
psychiatric evaluation of Protack.

65. After receiving no response from Dr. Altman to the March 10, 2014
letter, on March 20, 2014, Protack resent his same letter, reiterating that the
key issue is that Delta has still be unable to provide the FAA Physical
Standards that Protack allegedly did not meet.

66. In March, 2014, Protack retained counsel, Katherine Witherspoon,

~ who sent a letter to PUCKETT on March 14, 2014 again protesting the

demand for a psychiatric evaluation. Ms. Witherspoon's letter confirmed
Protack's position that the demand is "unwarranted, unreasonable, and
unlawful." Ms. Witherspoon further pointed out that the psychiatric exam is
only permitted when the pilot may not meet the physical standards
established by the FAA for the issuance of a first class medical certificate.
The letter further pointed out: "If every time an employee acted in a manner
which might obstruct a management goal, the employer was able to subject
him to a psychiatric exam, this would undermine the purposes of federal law
to prevent discrimination based on an employer's perception that the

employee has a disability." The letter further pointed out that, even if all of

Delta's accusations against Protack were true (though this is denied), none of| .

these facts "constitute reasonable to cause to believe that [Protack] cannot
safely pilot a plane." The letter further confirmed that Delta's demand
violates the ADA, and further confirmed that, under those laws, "employers
are not permitted to demand such examinations to unlawfully further their
agenda to terminate an employee...Employers are permitted to require
medical exams only if they are job related and consistent with business

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necessity," which may be met when the employer reasonably believes the
ability to perform an essential job function will be impaired by a medical
condition, or the employee will pose a direct threat due to the medical
condition, citing the EEOC Enforcement Guidance on the Americans with
Disabilities Act and Psychiatric Disabilities. The letter accused Delta of
"attempting to medicalize a workplace dispute by illegally requesting the
exam." Ms. Witherspoon further confirmed that Protack had engaged in
union organizing activities, and that his communications concerning this
may have been intercepted, and that Delta's actions might also violate
Protack's rights as a union organizer and member in violation of the RLA,
and are intended to undermine Protack's union organizing efforts. In
conclusion, the letter confirmed that if Delta did not retract its demand for
the mental health examination, Protack would file a charge of discrimination
based on Delta's perception that he is an individual with a psychiatric
disability under the ADA.

67. On March 25, 2014, PUCKETT sent a letter to Gordon Rose, Esq. of
the ALPA again refusing to remove FAULKNER from Protack's case, and
refusing to withdraw the demand for a psychiatric exam. PUCKETT's letter
demand that Protack submit to neuropsychological testing on March 28th,
and soon thereafter, demand that Protack make an appointment with Dr.
Altman. PUCKETT's letter further confirmed that, should Protack refuse,
"[a]t that point, this matter will be treated as a disciplinary case," and went
on to threaten that such track would include anything PUCKETT could think
of.

68. On April 3, 2014, Delta forced Protack to sign medical releases under

threat of termination.

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69. Throughout this time period, Protack continued to keep Dr. Chesanow|
of the FAA apprised of Delta's activities and the continued "witch hunt."
70. On April 28, 2014, Dr. Altman write to Protack in response to
receiving a release to release information to Dr. Chesanow and other FAA
physicians. Dr. Altman proposed that submitting the matter to resolution by
the FAA might resolve the issue of whether Protack needed to have a
psychiatric/psychological evaluation, since Protack had himself sought
confirmation from the FAA that he is "fit for duty," and Protack's apparent
view "that their opinion matters." Dr. Altman's letter confirmed that he had
prepared a "primary report based upon the data available at this point and
believe that even though no diagnosis has been made there is adequate
information to conclude that a full psychiatric/psychological evaluation is
indicated." Dr. Altman further confirmed: "Ifthe physicians at the FAA
agree with my position, I hope that their opinion will resolve this issue in
your mind and we will be able to complete your evaluation."

71. On April 28, 2014, Dr. Altman also wrote to Dr. Chesanow of the
FAA, confirming the FAA's agreement to review Protack's case, confirming
the issue is whether or not Delta is justified in arranging a psychiatric
evaluation.

72. Concurrently therewith, Dr. Altman provided his "primary report"
consisting of hundreds of pages of documents provided by FAULKNER,
PUCKETT, TERRY, MILLER, and the others involved in the witch hunt.
The report states:

No diagnosis has been made in Captain Protack's case;
however, he is exhibiting a symptom which is consistent
with a number of medically disqualifying diagnoses.
This preliminary report provides the evidence that
Captain Protack has an inability to change cognitive sets
and that this issue is so extensive that he has Fixed false
beliefs. Based upon this finding, I would continue to

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recommend that he have a comprehensive psychiatric and
psychological evaluation. I would request that Dr.
hesanow and Dr. Berry support the position that
Captain Protack needs to have a comprehensive
psychiatric and neuropsychological evaluation.

While Dr. Altman's preliminary report admitted that no diagnoses had
been made, the report threatened that he would give a diagnosis "which
would be a permanent bar" to Protack flying, should Protack engage in the

following activities:

e He would delay the evaluation

e He would begin legal action against me. He would
he a. complaint with the medical board of the state
of Illinois

e. He would rescind the releases for the FAA. He
would probably blame this action on advice from
an unidentified attorney.

e He would continue to maintain that the evaluation
has no legitimacy.

e He would continue to block the releases he signed
during his first interview.

e In his messages he would continue to allude to
upcoming legal actions.

In other words, Dr. Altman confirmed that, should Protack continue to
engage in protected activity under the law, he would issue a diagnoses that

would permanent bar him from flying. The report went on:

On the other hand, if he responds in the following
manner, it would suggest a diagnosis which is potentially
resolvable.

e Rapidly reschedule the appointments needed to
complete the evaluation,. Complete all requested
questionnaires and essays. Permit full contact with
requested sources of information.

e Discontinue his litigious/adversarial stance.

e Take responsibility for his problematic actions.

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In other words, Dr. Altman confirmed that, if Protack ceases his
engagement in protected activities and submits to the psychological exam
that he has been protesting, that the diagnosis from that exam might be
resolvable, e.g., permit Protack to fly again at some point.

73. On May 7, 2014, unrelated to the Section 15 process and Protack's
alleged physical and mental disabilities as perceived by Delta, Protack's
personal physician recommended Protack start taking Dymista for a chronic
sinus conditions Protack suffered from. At the time, the use of Dymista was
a disqqualifying medication for pilots per the FAA. Since Protack was still
grounded by Delta and not permitted by Delta to exercise his First Class
Medical Certificate as a pilot, Protack applied for long term disability
benefits so, if approved, he could start taking Dymista. Protack would not
have bothered pursuing this new course of treatment but for his grounded
status. |

74. On May 14, 2014, Protack sent a letter to Drs. Chesanow and Berry of
the FAA responding to Dr. Altman's report, and confirming that he did file a
complaint with the Illinois Department of Financial and Professional
Regulation against Dr. Altman for legal and ethical compliance. In this
letter, Protack specifically confirms: "Unfortunately, Dr. Altman interprets
protecting my individual rights and asking him to follow ethical guidelines

as ‘litigious’ and ‘unusual’ conduct," and further confirming that "Following

professional legal advice is not a psychiatric condition."

75. On May 22, 2014, Gordon Rose, Esq. of the ALPA sent a letter to
PUCKETT protesting the actions of Dr. Altman, in particular that portion of
the report threatening to render a diagnosis that would permanently bar
Protack from aviation, should Protack continue to engage in protected
activity: "Conditioning the severity of his diagnosis on whether or not

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Captain Protack 'maintain[s] that the evaluation has no legitimacy’ - the very
subject of the pending grievance - crosses the line of professionalism and
appropriate conduct." The ALPA further confirmed: "Undoubtedly, a
neutral would be seriously disturbed by Dr. Altman's hinging the severity of
his diagnosis on whether Captain Protack stops questioning the legitimacy
(reasonableness) of his being required to be subjected to a psychological
evaluation, especially in light of his pending grievance on this very point."
76. On May 28, 2014, Dr. Chesanow of the FAA referred the matter to
Nicholas Lomangino, M.D., Acting Manager, Medical Specialties Division
(of the FAA) requesting the FAA review the matter. Dr. Chesanow's initial |
opinion was that "the current issues precipitating this evaluation are more
likely employer/employee issues than aeromedically-significant psychiatric
issues."

77. The very next day, on May 29, 2014, the FAA issued Protack another
First Class Medical certification, this one by Charles E. Hill, M.D.

78. Shortly thereafter, Protack's application for long term disability
benefits was approved, and Protack went on disabled status. Rather than
collecting the full pay he would and could have continued to receive while
the Section 15 process was pending, Protack accepted the partial salary
replacement afforded by his long term disability benefits, and began taking
Dymista. As a result of taking Dymista, Protack was disqualified from
exercising his First Class Medical Certificate. Protack intended that, once
the Section 15 dispute with Delta was resolved, should his flight privileges
be reinstated, he would cease using Dymista and reinstate his First Class
Medical privileges, which could be accomplished quickly. On July 2, 2014,
the FAA subsequently referred the matter to Debra A. Pinals, M.D. for

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independent evaluation of Protack's qualifications for airman medical

 

certification, and his fitness to pilot.
79. OnJuly 11, 2014, PUCKETT sent a letter to the Hartley Phinney of
the ALPA, defending Dr. Altman's conduct of sending the preliminary report
to Dr. Chesanow, and further demanded that Protack continue with the
psychological evaluation despite the matter having been referred to the FAA,
Once again, PUCKETT threatened: "failure to comply with these simple
instructions will result in disciplinary action up to and including
termination."

80. On October 9, 2014, Dr. Debra Pinals issued her "independent
Psychiatric Record Review," and provided her opinion related to Protack's
qualification for his airman medical certificate. At the conclusion of her
comprehensive, 21-page long report, Dr. Pinals confirms: "In my opinion,
the data available does not substantially support that Captain Protack has a
condition found under the metal standards of 14 CFR Part 67 that would
disqualify him from airman certification." Dr. Pinals further confirms: "In
my opinion, the records do not substantially support data that Captain
Protack would be unable to identify aeronautical hazards or to appropriately
process and respond to the situations based on psychiatric, mental or
behavioral abnormalities." Dr. Pinals' report further states: "I agree with Dr.

Chesanow that much of the difficulties involved in this case relate to

employee/employer disagreements. Therefore, overall the totality of the

data from the records does not substantially support psychiatric, mental, or
behavioral abnormalities that have a direct impact on Mr. Protack's ability to
identify aeronautical hazards." In other words, Dr. Pinals disagreed with Dr.]

Altman and Delta, and confirmed that Protack was fit to pilot a plane.

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81. On November 10, 2014, Dr. James R. Fraser, Federal Air Surgeon for
the FAA again confirmed Protack’s eligibility to hold the First Class Airman
Medical Certificate issued on May 29, 2014, which was provided to Delta.
82. Despite the FAA findings and rejection of Delta's attempt to
medicalize the workplace dispute, Delta still did not reinstate Protack's
flying privileges, and Protack remained grounded.

83. Plaintiff moved to Long Beach, California in September 2015, as a
professional option, and resided there until March 2016. Plaintiff then
moved permanently to Seal Beach, California on September 26, 2016 and
has resided there ever since. Plaintiff has a California driver's license, has
paid California taxes since 2016, and is registered to vote in California.

84. Based on his seniority, at any point until termination, Plaintiff would
have been able to use his seniority rights to be reassigned to LAX as his
home base, which was his intent when Plaintiff moved out to California.
Based on his level of seniority versus those on the 2017 pilot seniority list
for LAX, Plaintiff would have been absolutely entitled to transfer to LAX to
Captain a number of planes. If reinstated today, Plaintiff would do so.

85. In December 2016, the new union agreement contained a provision
requiring all grievances be resolved within two years. Prior to this change,
there was no time limit. Protack, through the ALPA demanded Delta
comply with this new provision and resolve his grievance over the
psychiatric exam, but Delta's response was to continue to delay.

86. On April 20, 2017, Gordon Rose, Esq. of ALPA sent a letter to
PUCKETT concerning Dr. Pinals evaluation and confirmation of Protack's
fitness for duty. Mr. Rose confirmed that, under the union agreement, Dr.
Pinals' report should have ended the Section 15 evaluation, quoting from the
agreement that "upon the CME's determination that meets the physical

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standards ...[he]... will be returned to flight duty." Mr. Rose further
confirmed that, since Dr. Altman/Delta had delegated the CME authority to
Dr. Pinals on April 28, 2014, when Dr. Altman requested Dr. Chesanow and
the FAA review Protack's case. At the conclusion of his lengthy letter, Mr.
Rose demanded Delta to confirm that the Section 15 process has been
resolved with Protack found to be meeting FAA medical standards, and
return to active status.

87. On June 12, 2017, Protack sent a letter to Dr. Northrup of the FAA to
file a complaint against FAULKNER.

88. On July 6, 2017, Protack was again confirmed as eligible to hold a
First Class Airman Medical Certificate, this time by Dr. Marvin Davis
signing for Dr. Stephen W. Griswold.

89. Despite the FAA's rejection of its position, and the despite the
continued issuance of First Class Medical Certificates by the FAA, on July
12, 2017, PUCKETT sent a letter to Gordon Rose, Esq. of ALPA continuing
to demand that Protack complete the psychiatric evaluation started by Dr.
Altman, including compliance with his request for a neuropsychological
examination. Because the FAA rejected Delta's position, PUCKETT denied
that it had delegated the issue to the FAA. PUCKETT demanded Protack
complete the Section 15 procedure, as it is the "exclusive procedure" for a
pilot to return to work.

90. On October 30, 2017, Protack's lawyer, Joseph Lamonica, sent a letter
to Delta's Regional Director, Captain Bill Underwood, confirming that the
FAA had made it clear that Protack is eligible for an unrestricted First Class
Medical Certificate, which Protack will again obtain and provide to Delta.

Mr. Lamonica confirmed: "[U]nless you contact me with reasonable

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1 medical objections,...Captain Protack would like to return to work, and the
2 FAA see no impediment to doing so."
3 91. On November 2, 2017, Protack filed another grievance against Delta

with respect to its handling of his earlier grievance.

5 92. On November 10, 2017, GRAHAM sent Protack a letter in response
to the grievance, and unilaterally terminated the Section 15 medical
evaluation process, claiming this act rendered moot Protack's grievance filed
more than four years earlier and which deprived Protack of a hearing on the

matter. In his letter, GRAHAM confirms that, because the Company
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Medical Examiner has not rendered a medical determination that he does not
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0 meet FAA physical standards, and because he had previously presented a

13 valid First Class Medical certificate, "Delta would consider you medically fit

14 for duty should you present a current First Class Medical Certificate."

5 Instead, in the very same letter, Delta now claimed that its review "revealed

16 certain facts indicating that you engaged in a series of misrepresentations,

7 refused to follow reasonable management directions and failed to conduct

18 yourself and communicate in a professional and respectful manner." Protack
19 was ordered to report to Atlanta on November 15, 2017, for a mandatory

20 meeting to investigate the alleged incident. In other words, after having

21 failed to justify and obtain the psychiatric evaluation it had been wrongfully
22 demanding for more than four years, Delta withdrew its request for the

23 same, and manufactured alternative reasons to keep Protack grounded.

“4 93. Protack did report to Atlanta on November 15, 2017, as demanded.

» Delta itself made arrangements for Protack to fly to/from Los Angeles to

Atlanta on its planes for this meeting. Though this meeting was supposed to

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be about these new reasons to discipline Protack, Delta continued to ask
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Protack medical questions.

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94. During this meeting on November 15, 2017, if Delta was not already
aware, including because it flew Protack out of California for this meeting
and had flown Protack from California to New York in October 2017 to
attend a meeting related to Protack's Grievance, Protack expressly confirmed
that he was living in California at the time.

95. Each time Protack was commanded by Delta to report to a meeting in
New York or Atlanta after having moved to California, Protack sent and
received these emails while at his home in Seal Beach, California

96. On December 13, 2017, Protack filed a complaint with the Equal
Employment Opportunities Commission (the "EEOC Complaint"). The
EEOC Complaint showed Protack's address in California, and was filed by
Protack while Protack was a resident of California and still a Delta
employee. Concurrently with the filing of Protack's EEOC Charge, Protack
was issued a Right to Sue from the Department of Fair Employment and
Housing (DFEH). This was sent to Delta with a copy of the EEOC Charge.
Protack was still a Delta employee at the time.

97. On December 20, 2017, counsel for Protack, Lee Seham, sent a letter
to PUCKETT, GRAHAM, MILLER and Delta confirming that Protack had
dual filed a complaint with the California DFEH and the federal EEOC
concerning their unlawful harassment and retaliatory treatment of Protack,
and warning them from further retaliating against Protack for this most
recent protected activity. Mr. Seham's letter recounted Delta's already long
history of demanding a prohibited medical inquiry in violation of EEOC
guidelines and the ADA, and retaliating against Protack for engaging in
protected activity. Plaintiff was still a Delta employee at the time, and
received his copy of the letter via email at his home in Seal Beach,
California.

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retaliation, and confirmed its intent to continue its retaliatory investigation.

98. On December 26, 2017, Delta, through counsel, responded to Mr.

Seham's letter, denying any wrongdoing, and denying that Delta's current

 

investigation into Protack's alleged misconduct, constituted harassment or

Nowhere within the letter did Mr. Wall disclaim that California laws apply,
or even question why Mr. Seham would suggest California laws apply.
Protack was still a Delta employee at the time, and received the email
forwarding the letter while at his home in Seal Beach, California.

99. On December 27, 2017, Mr. Seham responded to Delta's counsel's
letter, "which confirms that Delta Air Lines together with Captains Graham
and Miller, have chosen to prolong their threat of discipline in retaliation for
what Captain Graham described as the ‘manner’ in which Captain Protack
opposed unlawful medical inquiries and discrimination" pursuant to the

ADA and the FEHA. Mr. Seham's letter confirmed that this disciplinary
investigation was further retaliation, and the conduct was itself sufficient to
constitute a materially adverse action for a retaliation claim. Mr. Seham
requested immediate confirmation that the investigation of Protack would be
concluded and no actions would be taken against him. Plaintiff was still a |
Delta employee at the time, and received his copy of the letter via email at
his home in Seal Beach, California.

100. On January 8, 2018, Protack's attorney, Mr. Lamonica again wrote to
Captain Underwood of Delta, concerning Delta's new conduct of questioning
notes and documents authored by Protack’s doctor, Dr. Jack Hocutt, and
suggested Delta contact Dr. Hocutt directly to get confirmation of the notes
that he wrote. Mr. Lamonica confirmed: "Frankly, it defies logic that Delta
has 'issues' with the authenticity of Dr. Hocutt's prescriptions notes and
memos, yet never called Dr. Hocutt directly to verify same." The doctor's

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note at issue was prepared for USAA to close out the auto injury case, and
submitted to Delta as verification of his medical status. USAA verified the
authenticity of this note in a letter. Delta had had this same letter in its
possession since July 2013.

101. In January 2018, Protack was required to attend another meeting in
Atlanta to review the findings of the company's investigation and meeting
that occurred in ATL on Nov. 15th." Regional Director& Chief Pilot
Captain Bill Underwood again personally arranged Plaintiff's flight from
LAX in California to Atlanta, and back. In these email communications,
Captain Underwood expressly confirms he understands that Plaintiff will be
traveling in and out of LAX. Plaintiff sent and received these emails while
at his home in Seal Beach, California.

102. Rather than finally do the right thing, on January 22, 2018, GRAHAM
issued Delta's Notice of Intent to Terminate Protack, falsely accusing him of
falsifying a medical record to excuse an absence for calling in sick on July 4,
2013. The notice further characterizes Protack's protestation of the medical

and psychological examination as being obstructionist (when it was really

protected activity) and calling it misconduct, and in derogation of Delta's

"highest standards of professionalism, integrity, conduct, judgment,
character and trust” that Protack resisted the unlawful psychological exam.
Protack received Delta's Notice of Intent to Terminate via email, while at his
home in Seal Beach, California. GRAHAM'S letter also indicates that a

copy of it was transmitted to MILLER, who was the presiding officer at the
December 5, 2013 hearing who first demanded a psych evaluation of
Plaintiff.

103. February 2, 2018, Protack attended the "hearing" on the decision to
terminate him. Delta again arranged for Protack's travel on its planes from

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COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

 

 
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California to Atlanta for this purpose, exchanging emails with Protack while
Protack was in California. At the "hearing," GRAHAM asked Protack
whether, if he were to be returned to service, he will have the "same
interests" as before. Protack told GRAHAM, "If you mean the Delta Pilots
Association, then absolutely." GRAHAM gave Protack a look of disgust.
104. On February 12, 2018, GRAHAM issued to Protack Delta's Letter of
Termination, based on the same reasons set forth in the January 22, 2018
Notice of Intent to Terminate. Protack received Delta's Notice of
Termination while at his home in Seal Beach, California. As with the Notice
of Intent to Terminate, GRAHAM's letter indicates that a copy of it was
transmitted to MILLER, confirming that MILLER was also still
participating in the harassment against Protack.

105. This is not the first time Delta has manufactured a psychological or
psychiatric issue as a pretext to ground or terminate a pilot. At one other
pilot was declared psychiatrically unstable and unfit to fly by Delta, and the
pilot was forced into retirement. The day after this pilot retired, Delta
reversed the decision. In contrast, another pilot who had been accused of
falsifying a medical record to excuse an absence was not terminated, but was
merely issued a Notice of Intent To Issue Letter Of Warning

106. As previously stated, in October 2013, Delta suspended Protack's non-
revenue flight privileges (the ability to fly for free on Delta aircraft , one of
his benefits of employment), claiming it was due to Protack's mental
condition. Delta's claim was false and pretextual, especially since Delta had
no problem flying Protack back to Atlanta on its planes to attend the various

meetings with Delta that he was being forced to attend.

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COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

 

 
 

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107. At all times between September 2016 and Protack’s termination date
of February 12, 2018, and thereafter through the present, Protack has been a
resident and citizen of the State of California.

108. On March 21, 2018, Protack amended his EEOC Complaint to reflect
that, since the filing of the original charge, Protack had since been
terminated by Delta. Like the others, this amended charge shows his address
in Seal Beach, California. |

109. The Notice of Right to Sue that Protack was issued by the EEOC on
July 31, 2018 also shows his address in Seal Beach, California prominently
set forth thereon.

110. Throughout the entirety of his employment, up to the date of his
termination, Protack was a member of the Delta MEC Air Line Pilots
Association, International, Delta's pilots' union. The union covers the entire
country, and there are branches in each of the major hub cities, including
Los Angeles. In September 2017, while still a Delta employee, Protack
personally attended one of the regularly-scheduled union meetings in Los
Angeles with a colleague, with the purpose of soliciting local help on his
pending grievances against Delta.

111. Plaintiff's termination was substantially motivated by Plaintiff's
disability or perceived physical or mental disability and/or engagement in
protected activities. Defendants’ discriminatory and retaliatory animus is
evidenced by the previously mentioned facts.

112. Since Delta never reinstated Protack's flying privileges, Protack has
had no cause to stop using Dymista, and remains on disabled status. On the
date of his termination, and at all times before and thereafter, Protack was
and remains a qualified individual, ready, willing and able to do the job as a
pilot, should he be permitted to do so. Protack could have and still can

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COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

 
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1 obtain a First Class Medical Certificate at any time in short order by ceasing

2 use of Dymista and switching to another medication.

3 113. Defendants’ conduct described herein was undertaken, authorized,

4 and/or ratified Defendants’ officers, directors and/or managing agents,

5 including, but not limited to the INDIVIDUAL DEFENDANTS, who were

authorized and empowered to make decisions that reflect and/or create
policy for Defendants. The aforementioned conduct of said managing agents
and individuals was therefore undertaken on behalf of Defendants who

further had advanced knowledge of the actions and conduct of said
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individuals whose actions and conduct were ratified, authorized, and
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b approved by managing agents.

3 114. As aresult of Defendants’ actions, Plaintiff has suffered and will

4 continue to suffer general and special damages, including severe and

15 profound pain and emotional distress, anxiety, depression, headaches,

16 tension, and other physical ailments, as well as medical expenses, expenses

7 for psychological counseling and treatment, and past and future lost wages

18 and benefits.

19 115. As aresult of the above, Plaintiff is entitled to past and future lost
20 wages, bonuses, commissions, benefits and loss or diminution of earning
21 capacity.

22 116. Plaintiff claims general damages for emotional and mental distress

23 and aggravation in a sum in excess of the jurisdictional minimum of this

24 Court.

»° 117. Because the acts taken toward Plaintiff were carried out by officers,

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directors and/or managing agents acting in a deliberate, cold, callous, cruel
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and intentional manner, in conscious disregard of Plaintiff’s rights and in
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order to injure and damage Plaintiff, Plaintiff requests that punitive damages

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COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

 

 

 

 
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be levied against Defendants and each of them, in sums in excess of the
jurisdictional minimum of this Court.
FIRST CAUSE OF ACTION
FOR VIOLATION OF THE AMERICANS WITH DISABILITIES ACT
42 U.S.C. §12101 ET SEQ |
| AGAINST DEFENDANT DELTA

118. Plaintiff re-alleges and incorporates by reference Paragraphs 1
through 102, inclusive, as though set forth in full herein.
119. The Americans with Disabilities Act of 1990, 42 USC $12101 et
seq. (“ADA”), prohibits private employers from discriminating against
qualified individuals with disabilities or perceived disabilities in job
application procedures, hiring, firing, advancement, compensation, job
training, and other terms, conditions, and privileges of employment. The
ADA covers employers with 15 or more employees, including State and.
local governments.
120. Plaintiff is informed and believes and thereon alleges that
Defendants are each an “employer” within the meaning of the ADA, and,
employ 15 or more employees.
121. Plaintiff is informed and believes and thereon alleges that he is a
“qualified individual” within the meaning of the ADA, and Delta
perceived him to be suffering physical and/or mental disabilities. At all
times relevant hereto, Plaintiff could have performed the essential
functions of his job as a pilot, or another job at Delta, with or without a
reasonable accommodation, including by being given a reasonable amount
of time to reinstate his First Class Medical Certificate once his flying

privileges were reinstated.

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122. After years of wholly above-satisfactory, competent and diligent
work performance to the significant profit of Defendants, Delta launched
upon a witch hunt, based upon its purported perception that Protack had a
physical disability and, later, a mental disability, that would prevent him
from piloting a plane, or apparently even being a passenger in one.

123. Over the course of more than four years, Delta repeatedly demanded
a psychiatric exam that it was not entitled to and for which there was no
legitimate cause to demand.

124. These reasons offered by Defendants were, in part, a pretext
designed to conceal Defendants’ practice of discriminating against Pilots,
including Protack, on the basis of physical or mental disability.

125. Although Protack was not offered any alternative positions for
which he was qualified and which did not include actual piloting of a.
plane, employees without a physical or mental disability and with less
experience than Protack, upon information and belief, were retained or
hired into in these alternative positions.

126. Protack believes and thereon alleges that his physical or mental
disability, as perceived by Defendant, was a factor in Defendants’ decision
to remove him from active status, demand a psychiatric exam, and
terminate him, as well as to deny him reinstatement or to hire him into the
positions to which he was qualified after having been terminated. Such
discrimination was in violation of the ADA and resulted in damage and
injury to Protack as alleged herein.

127. Asa direct result of Defendants’ actions and failures to act,

Defendants violated 42 USC §12112(a) of the ADA, which provides:

No covered entity shall discriminate against a qualified
individual on the basis of disability in regard to job
application procedures, the hiring, advancement, or

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discharge of employees, employee compensation, job
training, and other terms, conditions, and privileges of
employment.

128. Asa direct result of Defendants’ actions and failures to act,

Defendants violated 42 USC §12112(d)(1) of the ADA, which provides:

The prohibition against discrimination as referred to in
subsection (a) of this section shall include medical
examinations and inquiries.

129. Asa direct result of Defendants’ actions and failures to act,

_ Defendants violated 42 USC §12112(d)(4)(A) of the ADA, which provides

Prohibited examinations and inquiries

A covered entity shall not require a medical examination
and shall not make inquiries of an employee as to
whether such employee is an individual with a disability
or as to the nature or severity of the disability, unless
such examination or inquiry is shown to be job-related
and consistent with business necessity.

130. As a direct result of Defendants’ actions and failures to act,

Defendants violated 42 USC §12112(b)(5)(A) of the ADA, which provides

As used in subsection (a) of this section, the term
“discriminate against a qualified individual on the basis
of disability” includes--

not making reasonable accommodations to the known
physical or mental limitations of an otherwise qualified
individual with a disability who is an applicant or
employee, unless such covered entity can demonstrate
that the accommodation would impose an undue hardship
on the operation of the business of such covered entity...

131. Defendants’ failure to supervise, control, direct, manage, and
counsel those agents throughout Plaintiff's employment, including the
INDIVIDUAL DEFENDANTS named herein, ratified, condoned and/or
encouraged the discriminatory behavior and enabled agents to believe that

their conduct was appropriate.

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132. Upon information and belief, Defendants have a systemic and wide-
spread policy of discriminating against and retaliating against employees
with real or perceived disabilities. By failing to stop the discrimination,
harassment and retaliation, the Defendants ratified the harassing,
discriminatory and retaliatory conduct which, in turn, directly caused a
vicious cycle allowing Plaintiff’s coworkers, supervisors, and other staff,
including the INDIVIDUAL DEFENDANTS, to act discriminatorily
toward Plaintiff with impunity.

133. Upon information and belief, Protack was replaced by Defendants
with someone not suffering from a mental, physical or medical disability
or condition.

134. The ADA makes it unlawful for an employer to discriminate against
an employee on the basis of the employee’s physical or mental disability
or medical condition.

135. Defendants engaged in unlawful employment practices in violation
of ADA by failing to investigate Plaintiffs complaints, having and
enforcing rules that are discriminatory on their face, and for promoting and
adopting conduct that violates federal law. In addition, Defendants had a
policy of retaliation, and did retaliate, against employees that complained
about unequal and discriminatory treatment in a direct effort to stifle such
exercise of rights.

136. Plaintiff submits that his physical and/or mental disability as _
perceived by Defendants was a motivating factor in the decision of
Defendants to mistreat him, discriminate against him, allow him to be
harassed, deny him equal access to opportunities to further his career, deny
him the ability to fairly compete with his co-workers, further deny him
opportunities extended to counterparts without disabilities or medical

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conditions, ultimately terminate his employment, and other discrimination
against him, in violation of the ADA. |

137. Said conduct violates the ADA, and such violations were a
proximate cause in Plaintiff's damage as stated below.

138. The damage allegations of Paragraphs 113 through 116, inclusive,
are herein incorporated by reference.

139. The foregoing conduct of Defendants individually, or by and
through their officers, directors and/or managing agents, was intended by
the Defendants to cause injury to the Plaintiff or was despicable conduct
carried on by the Defendants with a willful and conscious disregard of the
rights of Plaintiff or subjected Plaintiff to cruel and unjust hardship in
conscious disregard of Plaintiff’s rights such as to constitute malice,
oppression, or fraud under the ADA and Civil Code §3294, thereby
entitling Plaintiff to punitive damages in an amount appropriate to punish
or make an example of Defendants.

140. Pursuant to 42 U.S.C. § 12117 and 42 U.S.C. § 2000e-5(k), or any
other statutory basis, Plaintiff requests a reasonable award of attorneys’
fees and costs.

SECOND CAUSE OF ACTION
FOR VIOLATIONS OF RAILWAY LABOR ACT (RLA)
—  45.0.S8.C, §151, ET SEO
AGAINST DEFENDANT DELTA

141. Plaintiff re-alleges and incorporates by reference Paragraphs 1
through 155, inclusive, as though set forth in full herein.

142. 45 U.S.C. § 152, Fourth, provides:

Employees shall have the right to organize and bargain
collectively through representatives of their own
choosing.... No carrier, its officers or agents, shall deny

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or in any way question the right of its employees to join,
organize, or assist in organizing the labor organization of
their choice, and it shall be unlawful for any carrier to
interfere in any way with the organization ofits |
employees ... or to influence or coerce employees in an
effort to induce them to join or remain or not to join or
remain members of any labor organization....

143. Protack engaged in protected union activities, as he was an active
participant in the movement to replace ALPA with a new union, the DPA,
and regularly exercised his rights under the union agreement to grieve
Delta's adverse actions taken against him.

144. Delta knew that Protack was engaged in protected union activities,
including his active efforts to establish the DPA, and even expressly brought
up these activities during the termination "hearing."

145. Defendants engaged in unlawful employment practices in violation of
the RLA, as more fully alleged above, and by failing to investigate
Plaintiff's complaints, having and enforcing rules that are discriminatory
and/or retaliatory on their face, and for promoting and adopting conduct that
violates federal law. In addition, Defendants had a policy of retaliation, and
did retaliate, against employees that engaged in union organizing activities
in.a direct effort to stifle such exercise of rights. |

146. Plaintiff submits that his union activities were a motivating factor in
the decision of Defendants to mistreat him, discriminate against him, allow
him to be harassed, deny him equal access to opportunities to further his
career, deny him the ability to fairly compete with his co-workers, ultimately
terminate his employment, and other retaliation against him, in violation of
the RLA.

147. Said conduct violates RLA, and such violations were a proximate

cause in Plaintiff's damage as stated below.

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COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

 

 
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1 148. The damage allegations of Paragraphs 113 through 116, inclusive, are
2 herein incorporated by reference.

3 149. The foregoing conduct of Defendants individually, or by and through
4 their officers, directors and/or managing agents, was intended by the

Defendants to cause injury to the Plaintiff or was despicable conduct carried |
on by the Defendants with a willful and conscious disregard of the rights of
Plaintiff or subjected Plaintiff to cruel and unjust hardship in conscious
disregard of Plaintiffs rights such as to constitute malice, oppression, or

fraud under the RLA and Civil Code §3294, thereby entitling Plaintiff to
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. punitive damages in an amount appropriate to punish or make an example of
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- Defendants.

3 150. Plaintiff requests a reasonable award of attorneys’ fees and costs.

 

 

 

14 THIRD CAUSE OF ACTION
ts || KOR DISCRIMINATION IN VIOLATION OF CAL. GOV’T CODE §§12940
16 ET SEQ.

17 AGAINST DEFENDANT DELTA

18 151. Plaintiff re-alleges and incorporates by reference Paragraphs 1
19 through 165, inclusive, as though set forth in full herein.
20 152. At all times hereto, the FEHA was in full force and effect and was
21 binding upon Defendants and each of them.
22 153. As such term is used under FEHA, “on the bases enumerated in this
23 part” means or refers to discrimination on the bases of one or more of the
24 protected characteristics under FEHA.
25 154. FEHA requires Defendants to refrain from discriminating against an
26 employee on the basis of disability and/or medical condition, real or
27 perceived, and to prevent discrimination and harassment on the basis of

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COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

 

 

 

 
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disability and/or medical condition, real or perceived, and engagement in
protected activities from occurring.

155. Plaintiff was a member of multiple protected classes as a result of
Plaintiff's disability, medical condition and/or the perception that Plaintiff
was suffering from a disability and/or medical condition.

156. At all times relevant hereto, Plaintiff was performing competently in
the position Plaintiff held with Defendants. Plaintiff was a qualified
individual because he could have performed the essential functions of his
job as a pilot, or another job at Delta, with or without a reasonable
accommodation, including by being given a reasonable amount of time to
reinstate his First Class Medical Certificate once his flying privileges were
reinstated.

157. Plaintiff suffered the adverse employment actions of unlawful
harassment, discrimination, failure to investigate, remedy, and/or prevent
discrimination, failure to reinstate and/or return to work, and termination,
and was harmed thereby.

158. Plaintiff is informed and believes that Plaintiff’s disability and/or
medical condition, real and perceived, and/or some combination of these
protected characteristics under California Government Code §12926(j)
were motivating reasons and/or factors in the decisions to subject Plaintiff
to the aforementioned adverse employment actions.

159. Said conduct violates the FEHA, and such violations were a
proximate cause in Plaintiff's damage as stated below.

160. Defendants’ unlawful employment practices were committed both
where the employment decision is made and where its effects are felt.
Commencing in September 2015, the effects of Defendants’ unlawful
employment practices, including the ongoing adverse employment actions

of failure to reinstate and/or return to work, and termination, were felt by

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COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

 

 
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Plaintiff in California. Further, Plaintiff would have worked in California
but for Defendants’ unlawful practices, because had Plaintiff's flying
privileges ever been restored, Plaintiff would have used his seniority
rights, as a matter of right, to be based out of California.

161. The damage allegations of Paragraphs 113 through 116, inclusive,
are herein incorporated by reference. .

162. The foregoing conduct of Defendants individually, or by and
through their officers, directors and/or managing agents, was intended by
the Defendants to cause injury to the Plaintiff or was despicable conduct
carried on by the Defendants with a willful and conscious disregard of the
rights of Plaintiff or subjected Plaintiff to cruel and unjust hardship in
conscious disregard of Plaintiff’s rights such as to constitute malice,

oppression, or fraud under Civil Code §3294, thereby entitling Plaintiff to

. punitive damages in an amount appropriate to punish or make an example

of Defendants.
163. Pursuant to California Government Code §12965(b), Plaintiff
requests a reasonable award of attorneys’ fees and costs, including expert
fees pursuant to the FEHA.

FOURTH CAUSE OF ACTION

FOR HARASSMENT IN VIOLATION OF CAL. GOV’T CODE §§12940 ET

SEQ.
AGAINST ALL DEFENDANTS

164. Plaintiff re-alleges and incorporates by reference Paragraphs 1
through 177, inclusive, as though set forth in full herein.

165. At all times hereto, the FEHA was in full force and effect and was
binding upon Defendants and each of them. California Government Code
§$1940(j)(1) prohibits harassment on the basis of physical or mental
disability, real or perceived, and other protected classifications. “It shall be

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an unlawful employment practice ... [fJor an employer ... or any other
person, because of ... physical disability, mental disability, ... to harass an
employee.... Harassment of an employee ... by an employee other than an
agent or supervisor shall be unlawful if the entity, or its agents or
supervisors, knows or should have known of this conduct and fails to take
immediate and appropriate corrective action. An entity shall take all
reasonable steps to prevent harassment from occurring.”

166. The FEHA, in particular California Government Code §1940(i),
makes it unlawful "[flor any person to aid, abet, incite, compel, or coerce
the doing of any of the acts forbidden under this part, or to attempt to do
so."

167. These laws set forth in the preceding paragraph require Defendants
to refrain from harassing, or creating, or maintaining a hostile work
environment against an employee based upon the employee’s disability
and/or medical condition, real or perceived, and engagement in protected
activities, as set forth hereinabove. These laws hold each participant in the
harassing conduct individually liable for the entirety of the harassment.
168. Defendants’ harassing conduct was severe or pervasive, was
unwelcome by Plaintiff, and a reasonable person in Plaintiff’ s
circumstances would have considered the work environment to be hostile
or abusive.

169. By its nature, because it requires a victim, harassment is committed
where its effects are felt. Commencing in September 2015, the effects of
Defendants’ harassment were felt by Plaintiff in California. Further,
Plaintiff would have worked in California but for Defendants' unlawful

practices, because had Plaintiff's flying privileges ever been restored,

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Plaintiff would have used his seniority rights, as a matter of right, to be
based out of California.

170. Defendants violated the FEHA and the public policy of the State of
California which is embodied in the FEHA by creating a hostile work
environment and harassing Plaintiff because of Plaintiffs disability, real
or perceived, engagement in protected activities, and/or some combination
of these protected characteristics, as set forth hereinabove.

171. The above said acts were perpetrated upon Plaintiff by a supervisor,
and/or Defendants knew or should have known of the conduct but failed to
take immediate and appropriate corrective action.

172. The above said acts of Defendants constitute violations of the FEHA
and violations of the public policy of the State of California. Such
violations were a proximate cause in Plaintiff’s damage as stated below.
173. The damage allegations of Paragraphs 113 through 116, inclusive,
are herein incorporated by reference.

174. The foregoing conduct of Defendants individually, or by and

through their officers, directors and/or managing agents, was intended by
the Defendants to cause injury to the Plaintiff or was despicable conduct
carried on by the Defendants with a willful and conscious disregard of the
rights of Plaintiff or subjected Plaintiff to cruel and unjust hardship in

conscious disregard of Plaintiff’s rights such as to constitute malice,

- Oppression, or fraud under California Civil Code §3294, thereby entitling

Plaintiff to punitive damages in an amount appropriate to punish or make
an example of Defendants.
175. Pursuant to California Government Code §12965(b), Plaintiff
requests a reasonable award of attorneys’ fees and costs, including expert
fees pursuant to the FEHA.

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2 FIFTH CAUSE OF ACTION
3 || FOR RETALIATION IN VIOLATION OF CAL. GOV’T CODE §§12940 ET]
4 SEQ.

° AGAINST DEFENDANT DELTA

 

176. Plaintiff re-alleges and incorporates by reference Paragraphs 1
through 188, inclusive, as though set forth in full herein.
177. Atall times hereto, the FEHA was in full force and effect and was

binding upon Defendants and each of them.
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178. These laws set forth in the preceding paragraph require Defendants
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to refrain from retaliating against an employee for engaging in protected
12
3 activity.

14 179. Plaintiff engaged in the protected activities of refusing to submit to

15 an unwarranted psychological examination, protesting Defendants’

16 attempts to force him to take an unwarranted psychological examination,
7 filing grievances relating to the unwarranted psychological examination,
18 filing complaints with the DFEH and EEOC, retaining counsel and

19 protesting Defendants’ perceived violations of State and Federal laws,

20 including the FEHA and ADA, and complaining about and protesting

21 |) Defendants’ discriminatory and harassing conduct towards Plaintiff based
22 upon Plaintiff's disability, real or perceived.

23 180. Commencing in September 2015, nearly all of Plaintiff's protected

24 activities occurred in California including, without limitation, the filing of

»° his DFEH and EEOC complaints and complaints of Defendants’ violations

*6 _ of California and Federal laws.

" 181. Plaintiff suffered the adverse employment actions of unlawful

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harassment, discrimination, failure to investigate, remedy, and/or prevent

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- discrimination, failure to reinstate and/or return to work, and termination,
and was harmed thereby.
182. Plaintiff is informed and believes that Plaintiff’s conduct of refusing
to submit to an unwarranted psychological examination, protesting
Defendants’ attempts to force him to take an unwarranted psychological
examination, filing grievances relating to the unwarranted psychological
examination, filing complaints with the DFEH and EEOC, retaining
counsel and protesting Defendants' perceived violations of State and
Federal laws, including the FEHA and ADA, and complaining about and
protesting Defendants’ discriminatory and harassing conduct towards
Plaintiff based upon Plaintiff's disability, real or perceived, and/or some
combination of these factors, were motivating reasons and/or factors in the
decisions to subject Plaintiff to the aforementioned adverse employment
actions. |

183. Defendants’ unlawful employment practices were committed both
where the employment decision is made and where its effects are felt.
Commencing in September 2015, the effects of Defendants' unlawful
employment practices, including the ongoing adverse employment actions
of failure to reinstate and/or return to work, and termination, were felt by
Plaintiff in California. Further, Plaintiff would have worked in California
but for Defendants' unlawful practices, because had Plaintiff's flying
privileges ever been restored, Plaintiff would have used his seniority
rights, as a matter of right, to be based out of California.
184. Defendants violated the FEHA by retaliating against Plaintiff and
terminating Plaintiff for attempting to exercise Plaintiff’s protected rights,

as set forth hereinabove.

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COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

 

 

 

 
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185. Plaintiff is informed and believes, and based thereon alleges, that
the above acts of retaliation committed by Defendants were done with the
knowledge, consent, and/or ratification of, or at the direction of, each other
Defendant and the other Managers.

186. The above said acts of Defendants constitute violations of the
FEHA, and were a proximate cause in Plaintiff’s damage as stated below.
187. The damage allegations of Paragraphs 113 through 116, inclusive,
are herein incorporated by reference.

188. The foregoing conduct of Defendants individually, or by and
through their officers, directors and/or managing agents, was intended by
the Defendants to cause injury to the Plaintiff or was despicable conduct
carried on by the Defendants with a willful and conscious disregard of the
rights of Plaintiff or subjected Plaintiff to cruel and unjust hardship in
conscious disregard of Plaintiff’s rights such as to constitute malice,
oppression, or fraud under California Civil Code §3294, thereby entitling
Plaintiff to punitive damages in an amount appropriate to punish or make
an example of Defendants. .
189. Pursuant to California Government Code §12965(b), Plaintiff
requests a reasonable award of attorneys’ fees and costs, including expert

fees pursuant to the FEHA.

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COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

 

 
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SIXTH CAUSE OF ACTION

FAILURE TO PREVENT DISCRIMINATION, HARASSMENT, AND

RETALIATION
IN VIOLATION OF CAL. GOV’T CODE §12940(k)
AGAINST DEFENDANT DELTA

190. Plaintiff re-alleges and incorporates by reference Paragraphs 1

 

through 200, inclusive, as though set forth in full herein.

191. Atall times hereto, the FEHA, including in particular California
Government Code §12940(k), was in full force and effect and was binding
upon Defendants. This subsection imposes a duty on Defendants to take
all reasonable steps necessary to prevent discrimination, harassment, and
retaliation from occurring. As alleged above, Defendants violated this
subsection and breached their duty by failing to take all reasonable steps
necessary to prevent discrimination, harassment, and retaliation from
occurring. |

192. The above said acts of Defendants constitute violations of the
FEHA, and were a proximate cause in Plaintiff’s damage as stated below.
193. The damage allegations of Paragraphs 113 through 116, inclusive,
are herein incorporated by reference.

194. The foregoing conduct of Defendants individually, or by and
through their officers, directors and/or managing agents, was intended by
the Defendants to cause injury to the Plaintiff or was despicable conduct
carried on by the Defendants with a willful and conscious disregard of the
rights of Plaintiff or subjected Plaintiff to cruel and unjust hardship in
conscious disregard of Plaintiff's rights such as to constitute malice,

oppression, or fraud under California Civil Code §3294, thereby entitling

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COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

 
 

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Plaintiff to punitive damages in an amount appropriate to punish or make
an example of Defendants.
195. Pursuant to California Government Code §12965(b), Plaintiff
requests a reasonable award of attorneys’ fees and costs, including expert
fees pursuant to the FEHA.

SEVENTH CAUSE OF ACTION

FOR DECLARATORY JUDGMENT

AGAINST ALL DEFENDANTS
196. Plaintiff re-alleges and incorporates by reference paragraphs 1
through 190, inclusive, as though set forth in full herein.
197. California Government Code §12920 sets forth the public policy of
the State of California as follows:

It is hereby declared as the public policy of this state that
it is necessary to protect and safeguard the right and
opportunity of all persons to seek, obtain, and hold
employment without discrimination or abridgment on
account of race, religious creed, color, national origin,
ancestry, physical disability, mental disability, medical
condition, genetic information, marital status, sex,
gender, gender identity, gender expression, age, or sexual
Orientation.

It is recognized that the practice of denying employment
opportunity and discriminating in the terms of. ;
employment for these reasons foments domestic strife
and unrest, deprives the state of the fullest utilization of
its capacities for development and advancement, and
substantially and adversely affects the interests of
employees, employers, and the public in general.

Further, the practice of discrimination because of race,
color, religion, sex, gender, gender identity, gender
expression, sexual orientation, marital status, national
origin, ancestry, familial status, source of income,
disability, or genetic information in housing |. ;
accommodations is declared to be against public policy.

It is the purpose of this part to provide effective remedies
that will eliminate these discriminatory practices.

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COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

 

 
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This part shall be deemed an exercise of the police power
1 of the state for the protection of the welfare, health, and
peace of the people of this state.

 

198. California Government Code §12920.5 embodies the intent of the
California legislature and states:

In order to eliminate discrimination, it is necessary to

6 provide effective remedies that will both prevent and
deter unlawful employment practices and redress the

7 adverse effects of those practices on aggrieved persons.
To that end, this part shall be deemed an exercise of the

8 Legislature s authority pursuant to Section 1 of Article
XIV of the California Constitution.

10 199. Moreover, California Government Code §12921, subdivision (a)

i says in pertinent part:

- The opportunity to seek, obtain, and hold employment

3 without discrimination because of race, religious creed,
color, national origin, ancestry, physical disability,
mental disability, medical condition, genetic information,
marital status, sex, gender, gender identity, ender
expression, age, or Sexual orientation is hereby
recognized as and declared to be a civil right.

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7 200. 42 U.S.C. § 2000e-5 similarly provides for declaratory judgment

18 under the ADA for violations or threatened violations of its provisions.
19 201. An actual controversy has arisen and now exists between Plaintiff

20 and Defendants concerning their respective rights and duties as it is

21 believed that Defendants may allege that they did not discriminate, harass

22 and/or retaliate against Plaintiff; that Plaintiff was not terminated as a

23 result of Plaintiffs actual or perceived disability, engagement in protected

24 activities, and/or some combination of these protected characteristics.

25 Plaintiff contends that Defendants did discriminate, harass, and retaliate

26 against Plaintiff on the basis of Plaintiffs disability and/or perceived

a7 disability, engagement in protected activities, and/or some combination of

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these protected characteristics; and that Plaintiff was retaliated against and,

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COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

 

 

 

 
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ultimately wrongfully terminated as a result of Plaintiffs disability and/or
perceived disability, engagement in protected activities, and/or some
combination of these protected characteristics. Plaintiff is informed and
believes, and on that basis alleges, that Defendants shall dispute Plaintiff's
contentions.

202. Pursuant to California Code of Civil Procedure $1060 and 28 U.S.C.
§§ 2201 and 2202, Plaintiff desires a judicial determination of Plaintiff's
rights and duties, and a declaration that Defendants harassed Plaintiff on
the basis of Plaintiff’s actual or perceived disability, engagement in
protected activities, and/or some combination of these protected
characteristics.

203. Pursuant to California Code of Civil Procedure §1060 and 28 U.S.C.
§§ 2201 and 2202, Plaintiff seeks a judicial determination of Plaintiffs
rights and duties, and a declaration that Plaintiff’s actual or perceived
disability, engagement in protected activities, and/or some combination of
these protected characteristics was a substantial motivating factor in the
decision to subject Plaintiff to the aforementioned adverse employment
actions.

204. A judicial declaration is necessary and appropriate at this time under
the circumstances in order that Plaintiff, for Plaintiff and on behalf of
employees in the State of California and/or the United States of America,
and in conformity with the public policy of the State and the Country,
obtain a judicial declaration of the wrongdoing of Defendants and to
condemn such discriminatory employment policies or practices
prospectively. Harris v. City of Santa Monica (2013) 56 Cal.4th 203.

205. A judicial declaration is necessary and appropriate at this time such
that Defendants may also be aware of their obligations under the law to not

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COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

 

 

 
 

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engage in discriminatory practices and to not violate the law in the future,
and to compel reinstate of Plaintiff to his former position, and without the
threat of these discriminatory practices moving forward.
206. California Government Code §12965(b) provides that an aggrieved
party, such as the Plaintiff herein, may be awarded reasonable attorney's
fees and costs: "In civil actions brought under this section, the court, in its
discretion, may award to the prevailing party, including the department,
reasonable attorney's fees and costs, including expert witness fees." Such
fees and costs expended by an aggrieved party may be awarded for the
purpose of redressing, preventing, or deterring discrimination and
harassment.
EIGHTH CAUSE OF ACTION
FOR RETALIATION
IN VIOLATION OF CAL. LABOR CODE 8§ 1102.5 AND 1102.6
AGAINST DEFENDANT DELTA
207. Plaintiff re-alleges and incorporates by reference all Paragraphs,
inclusive, as though set forth in full herein.
208. At all relevant times, California Labor Code §1102.5(a) was in full
force and effect, and was binding on Defendants. This law prohibits an
employer, or any person acting on behalf of the employer, from
discharging an employee or in any manner discriminating or retaliating
against, or taking any adverse action against, an employee because, among
other things, the employee disclosed information to a government or law
enforcement agency, or to a person with authority over the employee or
another employee who has the authority to investigate, discover, or correct
the violation or noncompliance, if the employee has reasonable cause to
believe that the information discloses a violation of state or federal statute,

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COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

 

 
 

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or violation of or noncompliance with a local, state, or federal rule or
regulation, regardless of whether disclosing the information is part of the
employee’s job duties. Pursuant to California Labor Code §1102.5(8), in
addition to other penalties, an employer that is a corporation or limited
liability company is liable for a civil penalty not exceeding ten thousand
dollars ($10,000) for each violation of this section.

209. As alleged herein, Plaintiff reported suspected violations of the law,
in particular, the ADA, the FEHA, and other laws, to Plaintiff's
supervisors at Delta, including the INDIVIDUAL DEFENDANTS.
Plaintiff further reported Defendants’ suspected violations of the law to the
medical boards of the States of Illinois and Georgia, as well as to the
DFEH and the EEOC. Commencing in September 2015, Plaintiff's
reports occurred in California, from California, and/or while Plaintiff was
residing in California.

210. Defendants subjected Plaintiff to the adverse employment action,
including without limitation, termination because Plaintiff reported the
suspected violations of the law.

211. Plaintiff's reports of these violations were a motivating and
contributing factor for the adverse employment actions by Defendants
against Plaintiff.

212. Defendants’ unlawful employment practices were committed both
where the employment decision is made and where its effects are felt.
Commencing in September 2015, the effects of Defendants’ unlawful
employment practices, including the ongoing adverse employment actions
of failure to reinstate and/or return to work, and termination, were felt by
Plaintiff in California. Further, Plaintiff would have worked in California
but for Defendants’ unlawful practices, because had Plaintiff's flying

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COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

 

 

 
 

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privileges ever been restored, Plaintiff would have used his seniority
rights, as a matter of right, to be based out of California.
213. Said conduct violates Labor Code Labor Code §1102.5 and Labor
Code §1102.6, and such violations were a proximate cause in Plaintiff's
damages as hereinabove stated.
214. The damage allegations of Paragraphs 113 through 116, inclusive,
are herein incorporated by reference.
215. Asaresult of Defendants’ actions, Plaintiff is entitled to a civil
penalty not to exceed $10,000.00 for Defendants’ violations of California
Labor Code § 1102.5.
216. The foregoing conduct of Defendants individually, or by and
through their managing agents, was intended by Defendants to cause
injury to Plaintiff, or was despicable conduct carried on by Defendants
with a willful and conscious disregard of the rights of Plaintiff or subjected
Plaintiff to cruel and unjust hardship in conscious disregard of Plaintiff’ s
rights such as to constitute malice, oppression, or fraud under California
Civil Code §3294, thereby entitling Plaintiff to punitive damages in an
amount appropriate to punish or make an example of Defendants.
NINTH CAUSE OF ACTION
FOR UNFAIR COMPETITION
CAL. BUSINESS & PROFESSIONS CODE §§17200, ET SEQ.
AGAINST DEFENDANT DELTA
217. Plaintiff re-alleges and incorporates by reference each of the
foregoing paragraphs as though set forth in full herein.
218. Defendants’ violations of the ADA, RLA, the FEHA, and Labor Code
§1102.5 constitute unfair business practices in violation of California
Business & Professions Code §§17200, et seq.
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COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

 

 
 

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219. Asaresult of Defendants’ unfair business practices, Defendants have
reaped unfair benefits and illegal profits at the expense of Plaintiff and
members of the public. Defendants should be made to disgorge their ill-
gotten gains and restore such monies to Plaintiff.
220. Defendants’ unfair business practices entitle Plaintiff to seek
preliminary and permanent injunctive relief, including but not limited to
orders that the Defendants account for, disgorge, and restore to the Plaintiff
the unpaid compensation and other monies and benefits unlawfully withheld
from Plaintiff, and to restore Plaintiff to his former position with
Defendants.
TENTH CAUSE OF ACTION
FOR WRONGFUL TERMINATION
IN VIOLATION OF PUBLIC POLICY
AGAINST DEFENDANT DELTA
221. Plaintiff re-alleges and incorporates by reference each of the
foregoing paragraphs as though set forth in full herein.
222. At all relevant times mentioned in this complaint, the ADA, ADEA,
and Title VII were in full force and effect and were binding on
Defendants. These laws require Defendants to refrain, among other things,
from discriminating against any employee on the basis of actual or
perceived disability, and from retaliating against any employee who
engages in protected activity.
223. At all relevant times mentioned in this complaint, the FEHA was in
full force and effect, and was binding on Defendants. This law requires
Defendants to refrain, among other things, from discriminating against any
employee on the basis of actual or perceived disability, and from
retaliating against any employee who engages in protected activity.

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COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

 

 

 
 

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224. Atall times mentioned in this complaint, it was a fundamental
policy of the United States of America and the State of California that
Defendants cannot discriminate and/or retaliate against any employee on
the basis of actual or perceived disability, and/or engagement in protected
activity.

225. Plaintiff believes and thereon alleges that Plaintiff’s disability
and/or medical condition, real or perceived, engagement in protected
activity with respect to these protected classes, and/or some combination
thereof, were factors in Defendants’ conduct as alleged hereinabove.

226. At all relevant times mentioned in this complaint, the RLA, National
Labor Relations Act (29 U.S.C. § 1538(a)) and California Labor Code §§
922-923 were in full force and effect, and were binding on Defendants.
These laws require Defendants to refrain, among other things, from
retaliating against and/or interfering with an employee's right to engage in
union-related activities. a
227. At all times mentioned in this complaint, it was a fundamental
policy of the United States of America and the State of California that
Defendants cannot retaliate against any employee on the basis of union-
related activities.

228. At all relevant times mentioned in this complaint, California Labor
Code §1102.5 was in full force and effect and was binding upon
Defendants and each of them. This law prohibits retaliation against
employees who disclose reasonable suspicions of illegal activity or
conduct by their employer to a government or law enforcement agency, or
to employer itself. California Labor Code §1102.5 reflects the
California's broad public policy interest in encouraging workplace
"whistleblowers," who may without fear of retaliation report concerns

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COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

 

 

 
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regarding an employer's suspected illegal conduct, irrespective of whether
the reporting is made to governmental agencies or to the employer itself,
and irrespective of whether the employee’s suspicions are correct that the
challenged conduct actually violates some law. Indeed, the law in

_ California is that an employee's good faith but mistaken belief in the
illegality of his co-workers’, supervisor’s, and employer’s conduct is
protected from employer retaliation in the whistle-blowing context.
229. Such discrimination and retaliation, resulting in the wrongful
termination of Plaintiff's employment on the basis of actual or perceived
disability, Plaintiffs complaining of harassment and discrimination due to
these protected classes, Plaintiffs engagement in protected activity under
the FEHA, ADA, and/or California Labor Code §1102.5, Plaintiff's
engagement in union activities, and/or some combination of these factors,
were a proximate cause in Plaintiffs damages as stated below.
230. The above said acts of Defendants constitute violations of Federal
law, the Government Code, the Labor Code, and the public policies of the
United States of America and the State of California embodied therein as
set forth above. Defendants violated these laws by discriminating and
retaliating against Plaintiff ,and terminating Plaintiff’s employment in
retaliation for exercise of protected rights.
231. The damage allegations of Paragraphs 113 through 116, inclusive,
are herein incorporated by reference.
232. The foregoing conduct of Defendants individually, or by and
through their officers, directors and/or managing agents, was intended by
the Defendants to cause injury to the Plaintiff or was despicable conduct
carried on by the Defendants with a willful and conscious disregard of the
rights of Plaintiff or subjected Plaintiff to cruel and unjust hardship in

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COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

 

 

 
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conscious disregard of Plaintiff’s rights such as to constitute malice,
oppression, or fraud under federal laws and California Civil Code §3294,
thereby entitling Plaintiff to punitive damages in an amount appropriate to

punish or make an example of Defendants.

PRAYER FOR RELIEF
WHEREFORE, Plaintiff seeks judgment against Defendants and each of

them, as follows:

1. For a money judgment representing compensatory damages including
lost wages, earnings, commissions, retirement benefits, and other employee
benefits, and all other sums of money, together with interest on these
amounts; for other special damages; and for general damages for mental pain
and anguish and emotional distress and loss of earning capacity;

2. For civil penalties pursuant to California Labor Code § 1102.5 in the
amount of no less than $10,000.00;

3. For prejudgment interest on each of the foregoing at the legal rate
from the date the obligation became due through the date of judgment in this
matter.

WHEREFORE, Plaintiff further seeks judgment against Defendants, and

each of them, in an amount according to proof, as follows:

4, For a declaratory judgment reaffirming Plaintiffs equal standing
under the law and condemning Defendants’ discriminatory practices;

5. For injunctive relief barring Defendants’ discriminatory and
retaliatory employment policies and practices in the future, and restoring

Plaintiff to Plaintiff’s former position with Defendants;

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COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

 

 

 
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6. For punitive damages, pursuant to federal laws and California Civil

Code $3294 in amounts sufficient to punish Defendants for the wrongful

conduct alleged herein and to deter such conduct in the future;

7. For costs of suit, attorneys’ fees, and expert witness fees pursuant to

42 USC ' 12117, the ADA, RLA, FEHA, Labor Code and/or any other basis;

8. For post-judgment interest; and

9. For any other relief that is just and proper.

ADDITIONALLY, the amount demanded exceeds $25,000.00 (Cal. Govt.
Code § 72055).

Respectfully submitted this__ day of January, 2021.

 

MICHAEL PROTACK
Address: P.O. Box 112
Seal Beach, CA 90740
Telephone: (302) 690-8872
JURY TRIAL DEMANDED

 

Plaintiff demands trial of all issues by jury.

Respectfully submitted this day of January, 2021.

 

MICHAEL PROTACK

Address: P.O. Box 112
Seal Beach, CA 90740

Telephone: (302) 690-8872

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COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

 

 

 

 
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COX, WOOTTON, LERNER, GRIFFIN & HANSEN, LLP

. DUANE R. MIYASHIRO 6513

Email: dmiyashiro@cwlfirm.com

JAMIE C. S. MADRIAGA 9769
Email: jmadriaga@cwlfirm.com

841 Bishop Street, Suite 1099

Honolulu, Hawai‘i 96813

Phone: (808) 744-7020

Fax: (808) 354-0427

 

 

Attorneys for Defendants

TEVA PHARMACEUTICALS USA, INC., TEVA
WOMEN’S HEALTH, INC., TEVA WOMEN’S
HEALTH, LLC, THE COOPER COMPANIES, INC.,
AND COOPERSURGICAL, INC.

IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF HAWAI'I

JONELLE KIRKPATRICK, Case 1:20-cv-00444-DK W-KJIM
Plaintiff, NOTICE OF APPEARANCE OF
COUNSEL; CERTIFICATE OF
VS. SERVICE

TEVA PHARMACEUTICALS USA,
INC.; TEVA WOMEN’S HEALTH,
INC. d/b/a TEVA WOMEN’S
HEALTH, LLC; TEVA WOMEN’S
HEALTH, LLC; THE COOPER
COMPANIES, INC.; and
COOPERSURGICAL, INC.,

Defendants.

 

 

NOTICE OF APPEARANCE OF COUNSEL
DUANE R. MIYASHIRO of the law firm of Cox, Wootton, Lerner, Griffin

& Hansen, LLP, hereby gives notice of his appearance as counsel for Defendants

 
 

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(1) TEVA PHARMACEUTICALS USA, INC.; (2) TEVA WOMEN’S HEALTH,
INC.; (3) TEVA WOMEN’S HEALTH, LLC; (4) THE COOPER COMPANIES,
INC.; and (5) COOPERSURGICAL, INC., in the above referenced action.

DATED: Honolulu, Hawai‘i, November 5, 2020.
/s/ Duane R. Miyashiro

 

DUANE R. MIYASHIRO

JAMIE C. S. MADRIAGA

Attorneys for Defendants

TEVA PHARMACEUTICALS USA,
INC., TEVA WOMEN’S HEALTH,
INC., TEVA WOMEN’S HEALTH,
LLC, THE COOPER COMPANIES,
INC., AND COOPERSURGICAL, INC.

 

 
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COX, WOOTTON, LERNER, GRIFFIN & HANSEN, LLP

DUANE R. MIYASHIRO 6513
Email: dmiyashiro@cwlfirm.com
JAMIE C. S. MADRIAGA 9769
Email: jmadriaga@cwlfirm.com

841 Bishop Street, Suite 1099
Honolulu, Hawai‘i 96813
Phone: (808) 744-7020
Fax: (808) 354-0427

Attorneys for Defendants

TEVA PHARMACEUTICALS USA, INC, TEVA
WOMEN’S HEALTH, INC., TEVA WOMEN’S
HEALTH, LLC, THE COOPER COMPANIES, INC.,
AND COOPERSURGICAL, INC.

IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF HAWAI'I

JONELLE KIRKPATRICK, Case 1:20-cv-00444-DK W-KJM
Plaintiff, NOTICE OF APPEARANCE OF
COUNSEL; CERTIFICATE OF
VS. SERVICE

TEVA PHARMACEUTICALS USA,
INC.; TEVA WOMEN’S HEALTH,
INC, d/b/a TEVA WOMEN’S
HEALTH, LLC; TEVA WOMEN’S
HEALTH, LLC; THE COOPER
COMPANIES, INC.; and
COOPERSURGICAL, INC.,

Defendants.

 

 

NOTICE OF APPEARANCE OF COUNSEL
JAMIE C. S. MADRIAGA of the law firm of Cox, Wootton, Lerner, Griffin

& Hansen, LLP, hereby gives notice of her appearance as counsel for Defendants

 
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(1) TEVA PHARMACEUTICALS USA, INC.; (2) TEVA WOMEN’S HEALTH, ~
INC.; (3) TEVA WOMEN’S HEALTH, LLC; (4) THE COOPER COMPANIES,
INC.; and (5) COOPERSURGICAL, INC., in the above referenced action.

DATED: Honolulu, Hawai‘i, November 5, 2020.

/s/ Jamie C. S. Madriaga

JAMIE C. S. MADRIAGA

DUANE R. MIYASHIRO

Attorneys for Defendants

TEVA PHARMACEUTICALS USA,
INC., TEVA WOMEN’S HEALTH,
INC., TEVA WOMEN’S HEALTH,
LLC, THE COOPER COMPANIES,
INC., AND COOPERSURGICAL, INC.

 

 

 
 

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CASE LOMBARDI & PETTIT
A Law Corporation

MICHAEL L. LAM 4260-0
MLL@CASELOMBARDI.COM

STEVEN E. TOM 9048-0
ST@CASELOMBARDI.COM

737 Bishop Street, Suite 2600

Pacific Guardian Center — Mauka Tower
Honolulu, Hawaii 96813

Telephone: (808) 547-5400

Facsimile: (808) 523-1888

RANDI KASSAN NYBA No. 4375754
RKASSAN@THESANDERSFIRM.COM

Sanders Phillips Grossman

100 Garden City Plaza, Suite 500

Garden City, New York 11530

Telephone: (516) 741-5600
(admitted pro hac vice)

Attorneys for Plaintiff
JONELLE KIRKPATRICK

UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF HAWAII

JONELLE KIRKPATRICK, CASE NO: 1:20-cv-00444-DK W-KJM
«ad PLAINTIFF JONELLE
Plaintiff, KIRKPATRICK'S NOTICE OF
y WITHDRAWAL WITHOUT
| STAY PROCEEDINGS PENDING A

TEVA PHARMACEUTICALS DECISION BY THE JUDICIAL
USA, INC.; TEVA WOMEN'S PANEL ON. MULTIDISTRICT
HEALTH, INC. d/b/a TEVA - 20);
WOMEN'S HEALTH, LLC: THE | CERTIFICATE OF si iice
COOPER COMPANIES, INC.; Hearing:
and COOPERSURGICAL, INC., Date: January 14, 2020

Judge: Honorable Derrick K. Watson

 

Defendants. .

 

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PLAINTIFF JONELLE KIRKPATRICK'S NOTICE OF WITHDRAWAL
WITHOUT PREJUDICE OF HER MOTION TO STAY PROCEEDINGS
PENDING A DECISION BY THE JUDICIAL PANEL ON
MULTIDISTRICT LITIGATION [DKT. 20]

COMES NOW, Plaintiff Jonelle Kirkpatrick ("Plaintiff"), by and through her
attorneys Case Lombardi & Pettit, hereby withdraws, without prejudice her
MOTION TO STAY PROCEEDINGS PENDING A DECISION BY THE JUDICIAL
PANEL ON MULTIDISTRICT LITIGATION [DKT. 20] ("Motion").

The Motion has been set for hearing before the Honorable Derrick K. Watson

on Thursday, January 14, 2021 beginning at 9:30 a.m.

Dated: Honolulu, Hawaii, December 9, 2020.

 

/s/ Steven E. Tom

MICHAEL L. LAM

STEVEN E. TOM

RANDI KASSAN (admitted pro hac)

Attorneys for Plaintiff
JONELLE KIRKPATRICK

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